      Case 17-03751-dd          Doc 64   Filed 12/13/18 Entered 12/13/18 15:40:28           Desc Main
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                                                                                Henry McMaster
              P.O. Box 995                                                          Governor
           1550 Gadsden Street
           Columbia, SC 29202                                                   Jamie D. Suber
                dew.sc.gov                                                  Acting Executive Director


                                                   	
                                           December	13,	2018	
      	
 Clerk	of	Court	                                     	
 United	States	Bankruptcy	Court	
 District	of	South	Carolina	
 	
               Re:	   NOTICE	OF	WITHDRAWAL	OF	CLAIM	
	
Dear	Clerk:	
For	the	reasons	below,	notice	is	given	that	in	accordance	with	Bankruptcy	Rule	3006,	the	undersigned	creditor	
or	authorized	agent	thereof	hereby	withdraws	the	following	proof	of	claim	filed	in	this	case:	
	
             Claimant:		     Melvin	Leonard	Wimmer,	Jr.	
               Case	No.		   17‐03751‐dd	
               Claim	#	     11‐1	 	
               Filed		 	    9/25/2017	        	
               Amount:		    $0.00	
               Reason:		    Filed	in	error	
                                                                 	
                                                                 	
                                                                 Sincerely,		
     	         	       	    	        	        	   	       	      /s/	Trey	McLeod	
                                                                 E.B.	“Trey”	McLeod,	III,	Esq.	
                                                                 SC	District	Number	10838	
                                                                 PO	Box	995	
                                                                 Columbia,	SC	29202	
                                                                 803‐737‐3043	
                                                                 tmcleod@dew.sc.gov		
                                                                  
